Case 1:13-cv-09244-RA-SDA Document 359-1 Filed 03/22/22 Page 1 of 11
      In re Actos Antitrust Litigation, No. 1:13-cv-09244-RA-SDA




             EXHIBIT A
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From:            Whitney Street
To:              DiMattio, Melina R.; Aaron Marks
Cc:              Matt Weiner; Sharon K. Robertson; Gregory Arnold; Abbye Klamann Ognibene; Jenny O"Brien; Fanelli, Mark J.;
                 Fee, R. Brendan; Reed, Steven A.; Huyett, D. Patrick; Natasha Silber; Donna M. Evans
Subject:         [EXTERNAL] RE: In re Actos Antitrust Litig.
Date:            Friday, March 4, 2022 5:04:32 PM


Melina,

Thank you for confirming that Takeda is using TAR only to prioritize documents for human review
and not to cull documents or make decisions about whether a document should be withheld from
production.

In terms of email threading, we were surprised to hear that Takeda is in fact using email threading,
which we believe violates the letter and spirit of the Federal Rules of Civil Procedure and the Court-
ordered ESI Protocol. (ECF No. 193.) Both require the production of relevant and responsive
documents, such as lesser included emails, and the ESI protocol permits de-duplication only if a
document is an exact duplicate based on MD5 or SHA-1 hash values—a requirement that lesser
included emails do not satisfy. (See ECF No. 193 at 4 (“No Party shall eliminate duplicates by manual
review or some method other than by use of the technical comparison using MD5 or SHA-I hash
values outlined above without meeting and conferring with the Requesting Party to determine a
mutually acceptable alternative.”)).

Please confirm that Takeda will make whatever adjustments are necessary to produce lesser
included emails as standalone documents for your prior and upcoming productions.

Thank you,
Whitney

Whitney Street | Hagens Berman Sobol Shapiro LLP | Direct: (925) 204-9959


From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Thursday, March 3, 2022 7:17 AM
To: Whitney Street <WhitneySt@hbsslaw.com>; Aaron Marks <amarks@cohenmilstein.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; srobertson@cohenmilstein.com; Greg Arnold
<grega@hbsslaw.com>; Abbye Klamann Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien
<JennyO@hbsslaw.com>; Fanelli, Mark J. <mark.fanelli@morganlewis.com>; Fee, R. Brendan
<brendan.fee@morganlewis.com>; Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D.
Patrick <patrick.huyett@morganlewis.com>; Natasha Fernandez-Silber
<nsilber@radicelawfirm.com>; devans@cohenmilstein.com
Subject: RE: In re Actos Antitrust Litig.

Whitney,

Please see attached for Takeda’s revisions to the proposed privilege log protocol. We look forward
to discussing further this Friday.
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In response to your questions, Takeda is producing responsive non-privileged (1) emails that cannot
be threaded, and (2) email threads that are the most inclusive. An email thread is responsive if any
portion of the thread is responsive. And, to be clear, the most inclusive email threads include (1) the
email that is the last email in a thread, (2) emails with unique content not included in another email,
and/or (3) an email without any replies or forwards. In contrast, non-inclusive emails have text and
attachments contained in other inclusive emails. Non-inclusive emails are redundant because all of
the non-inclusive content to the email message is contained in the inclusive email. Email threading
is a common and well-accepted practice to streamline the document review and production process,
ensure consistent coding decisions and privilege redactions, and avoid the confusion that might
result if a party uses an earlier and less complete version. Email threading is also more efficient for
the receiving party, who can review, for example, ten emails in an email conversation in one
document rather than ten documents.

Next, we confirm that an email or email thread that is partially privileged will be produced with only
the privileged information redacted. For example, an email transmitting legal advice may have the
body of the email (or portion thereof) redacted, but the document will still be produced with all non-
privileged information unredacted, e.g., the sender, recipient, date, and subject line. An email or
email thread that is completely privileged – because the entire email or all emails in the thread are
each fully privileged – will be withheld from production.

Finally, we confirm that Takeda is using TAR only to prioritize documents for human review; Takeda
is not using TAR to cull documents or to otherwise make decisions about whether a document
should be withheld from production.

Thanks,
Melina


Melina R. DiMattio
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com




From: Whitney Street <WhitneySt@hbsslaw.com>
Sent: Wednesday, March 02, 2022 10:53 AM
To: DiMattio, Melina R. <melina.dimattio@morganlewis.com>; Aaron Marks
<amarks@cohenmilstein.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; srobertson@cohenmilstein.com; Greg Arnold
<grega@hbsslaw.com>; Abbye Klamann Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien
<JennyO@hbsslaw.com>; Fanelli, Mark J. <mark.fanelli@morganlewis.com>; Fee, R. Brendan
<brendan.fee@morganlewis.com>; Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D.
Patrick <patrick.huyett@morganlewis.com>; Natasha Fernandez-Silber
    Case 1:13-cv-09244-RA-SDA Document 359-1 Filed 03/22/22 Page 4 of 11


<nsilber@radicelawfirm.com>; devans@cohenmilstein.com
Subject: RE: In re Actos Antitrust Litig.

[EXTERNAL EMAIL]
Dear Melina,

Thank you for the productive call on Friday regarding the privilege log protocol. I write to confirm a
few points.

First, please confirm Takeda is not using email threading in its document production. For avoidance
of confusion, this means that Takeda will not withhold lesser included emails, but rather will produce
lesser included emails as standalone documents in Takeda’s document production.

Second, please confirm that an email containing privileged information will be produced with only
the privileged information redacted. For example, an email transmitting legal advice may have the
body of the email (or portion thereof) redacted, but the document will still be produced with all non-
privileged information unredacted, e.g., the sender, recipient, date, and subject line.

Last, my understanding is that Takeda is using TAR only to prioritize documents for human review; it
is not using TAR to cull documents or to otherwise make decisions about whether a document
should be withheld from production. Please let me know if I am mistaken in any respect.

We look forward to receiving your proposed edits to the privilege log protocol (ideally by Thursday
evening if feasible) and discussing with you further on Friday, March 4.

Thank you,
Whitney


Whitney Street | Hagens Berman Sobol Shapiro LLP | Direct: (925) 204-9959


From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Friday, February 25, 2022 6:30 AM
To: Aaron Marks <amarks@cohenmilstein.com>; Whitney Street <WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; srobertson@cohenmilstein.com; Greg Arnold
<grega@hbsslaw.com>; Abbye Klamann Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien
<JennyO@hbsslaw.com>; Fanelli, Mark J. <mark.fanelli@morganlewis.com>; Fee, R. Brendan
<brendan.fee@morganlewis.com>; Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D.
Patrick <patrick.huyett@morganlewis.com>; Natasha Fernandez-Silber
<nsilber@radicelawfirm.com>; devans@cohenmilstein.com
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

Hi Aaron,

Attached are Takeda’s comments on the proposed privilege log protocol. Look forward to discussing
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this afternoon. By the way, I’m coming from another call at 1 pm and worried I may be a tad late – if
you all don’t mind starting our call at 1:35 pm I would be grateful.

Thanks,
Melina

Melina R. DiMattio
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com




From: Aaron Marks <amarks@cohenmilstein.com>
Sent: Friday, February 18, 2022 6:58 PM
To: DiMattio, Melina R. <melina.dimattio@morganlewis.com>; Whitney Street
<WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Sharon K. Robertson
<srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>; Abbye Klamann
Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>;
Natasha Silber <nsilber@radicelawfirm.com>; Donna M. Evans <DEvans@cohenmilstein.com>
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

[EXTERNAL EMAIL]
Melina,

Thanks for sending your availability for a meet and confer. We are available on Friday 2/25 at
1:30pm ET. I will circulate a dial-in.

Plaintiffs’ proposed privilege log protocol is attached to this e-mail. We look forward to discussing
with you next week.

Best for the weekend,
Aaron


From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Friday, February 18, 2022 11:16 AM
To: Aaron Marks <amarks@cohenmilstein.com>; Whitney Street <WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Sharon K. Robertson
<srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>; Abbye Klamann
Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
    Case 1:13-cv-09244-RA-SDA Document 359-1 Filed 03/22/22 Page 6 of 11


A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>;
Natasha Silber <nsilber@radicelawfirm.com>
Subject: [EXTERNAL] RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of
interrogatories

Aaron,

We can be available to meet and confer about the form and format of privilege logs next week on
Wed. 2/23 from 12-1 pm or Friday 2/25 between 1:30-3 pm. Please let us know what works for you.

Thanks,
Melina

Melina R. DiMattio
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com




From: Aaron Marks <amarks@cohenmilstein.com>
Sent: Tuesday, February 15, 2022 12:19 PM
To: DiMattio, Melina R. <melina.dimattio@morganlewis.com>; Whitney Street
<WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Sharon K. Robertson
<srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>; Abbye Klamann
Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>;
Natasha Silber <nsilber@radicelawfirm.com>
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

[EXTERNAL EMAIL]
Melina,

Thanks for your e-mail. Plaintiffs agree that it would be helpful to meet and confer regarding the
form and format of privilege logs. We think such a discussion would be most productive after we
circulate a proposed privilege log protocol, which we intend to do later this week. Would you please
let us know Defendants’ availability to meet and confer next week, after you have had a chance to
review the proposed protocol? Thank you.

Best,
Aaron
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From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Monday, February 14, 2022 8:48 PM
To: Aaron Marks <amarks@cohenmilstein.com>; Whitney Street <WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Sharon K. Robertson
<srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>; Abbye Klamann
Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>
Subject: [EXTERNAL] RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of
interrogatories

Aaron,

Thank you for your email. We confirm that Takeda will apply the “touch base” test to determine the
appropriate country’s privilege law. Under the “touch base” test, “communications relating to legal
proceedings in the United States, or that reflect the provision of advice regarding American law,
‘touch base’ with the United States and, therefore, are governed by American [privilege] law.”
Mangouras v. Squire Patton Boggs, 980 F.3d 88, 99 (2d Cir. 2020) (quoting Gucci America, Inc. v.
Guess?, Inc., 271 F.R.D. 58, 65 (S.D.N.Y. 2010). We also confirm that Takeda will identify the Takeda
employees included on the company’s privilege log who are bengoshi and benrishi.

We think it would be helpful to schedule a meet and confer to discuss the format for and the fields
included in the privilege logs. Are you available this Friday at 1 or 3 pm ET?

Sincerely,
Melina


Melina R. DiMattio
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Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com




From: Aaron Marks <amarks@cohenmilstein.com>
Sent: Tuesday, February 08, 2022 1:29 PM
To: Whitney Street <WhitneySt@hbsslaw.com>; DiMattio, Melina R.
<melina.dimattio@morganlewis.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Sharon K. Robertson
<srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>; Abbye Klamann
Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>
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Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

[EXTERNAL EMAIL]
Melina,

Thank you for speaking with us last week regarding Defendants’ document production plans. We
understand, based on your comments during that call, that Defendants intend to withhold as
privileged documents that were collected from the paper files of Takeda’s Japanese entity, Takeda
Pharmaceutical Company. Given the issues that can arise with respect to the invocation of attorney-
client privilege over foreign documents, we write to clarify a couple of questions.

First, would you please confirm that any documents Defendants withhold as privileged will be
withheld on the basis of the appropriate country’s privilege law? As you may be aware, “district
courts within this Circuit have applied the ‘touch base’ test, a ‘traditional choice-of-law “contacts”
analysis to determine the law that applies to claims of privilege involving foreign documents.’”
Mangouras v. Squire Patton Boggs, 980 F.3d 88, 98-99 (2d Cir. 2020) (quoting Astra Aktiebolag v.
Andrx Pharms., Inc., 208 F.R.D. 92, 98 (S.D.N.Y. 2002)). Accordingly, the relevant country’s privilege
law for certain documents in this case may be the law of Japan. See, e.g., Eisai Ltd. v. Dr. Reddy's
Laboratories, Inc., 406 F. Supp. 2d 341 (S.D.N.Y. 2005).

Second, it is our understanding that Japanese privilege law distinguishes between licensed attorneys
(“bengoshi”), licensed patent agents (“benrishi”), and non-licensed individuals who may work, for
example, in an in-house legal department. See In re Abilify (Aripiprazlone) Prods. Liability Litig., No.
3:16-md-2734, 2019 WL 130412, at *2 (N.D. Fla. Jan. 8, 2019). So that Plaintiffs are able to properly
assess Defendants’ assertions of privilege under Japanese law, we will need to understand which of
these classifications apply to the individuals included on Defendants’ forthcoming privilege log.
Would you please confirm that, at least as to the Japanese documents that Defendants withhold as
privileged, the individuals listed on Defendants’ privilege log will be identified as bengoshi, benrishi,
or non-bengoshi/benrishi?

Thank you,
Aaron


From: Whitney Street <WhitneySt@hbsslaw.com>
Sent: Monday, January 31, 2022 1:26 PM
To: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Aaron Marks <amarks@cohenmilstein.com>;
Sharon K. Robertson <srobertson@cohenmilstein.com>; Gregory Arnold <grega@hbsslaw.com>;
Abbye Klamann Ognibene <AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli,
Mark J. <mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>;
Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D. Patrick
<patrick.huyett@morganlewis.com>
Subject: [EXTERNAL] RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of
interrogatories
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Melina,

Thank you for your email. Plaintiffs are available Tuesday (2/1) at 2:30 pm eastern. During our call,
we would also like to discuss the status of Defendants’ rolling production and production from non-
custodial sources.

Thank you,
Whitney


Whitney Street | Hagens Berman Sobol Shapiro LLP | Direct: (925) 204-9959


From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Friday, January 28, 2022 1:10 PM
To: Whitney Street <WhitneySt@hbsslaw.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Aaron Marks <amarks@cohenmilstein.com>;
srobertson@cohenmilstein.com; Greg Arnold <grega@hbsslaw.com>; Abbye Klamann Ognibene
<AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>; Reed, Steven
A. <steven.reed@morganlewis.com>; Huyett, D. Patrick <patrick.huyett@morganlewis.com>
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

Whitney:

Can we please schedule a meet and confer next week to discuss DPPs’ position concerning
interrogatory no. 1, particularly as to the time period? Please let us know your availability. Thank
you and have a great weekend.

Sincerely,
Melina

Melina R. DiMattio
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com




From: Whitney Street <WhitneySt@hbsslaw.com>
Sent: Thursday, January 13, 2022 7:48 PM
To: DiMattio, Melina R. <melina.dimattio@morganlewis.com>; Fee, R. Brendan
<brendan.fee@morganlewis.com>; Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D.
Patrick <patrick.huyett@morganlewis.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Aaron Marks <amarks@cohenmilstein.com>;
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srobertson@cohenmilstein.com; Greg Arnold <grega@hbsslaw.com>; Abbye Klamann Ognibene
<AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

[EXTERNAL EMAIL]
Counsel,

Please see the attached correspondence.

Thank you,
Whitney


Whitney Street | Hagens Berman Sobol Shapiro LLP | Direct: (925) 204-9959


From: DiMattio, Melina R. <melina.dimattio@morganlewis.com>
Sent: Thursday, December 23, 2021 11:54 AM
To: Whitney Street <WhitneySt@hbsslaw.com>; Fee, R. Brendan <brendan.fee@morganlewis.com>;
Reed, Steven A. <steven.reed@morganlewis.com>; Huyett, D. Patrick
<patrick.huyett@morganlewis.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Aaron Marks <amarks@cohenmilstein.com>;
srobertson@cohenmilstein.com; Greg Arnold <grega@hbsslaw.com>; Abbye Klamann Ognibene
<AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>; Fanelli, Mark J.
<mark.fanelli@morganlewis.com>
Subject: RE: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

Whitney,

Please see the attached correspondence.

Happy holidays to you!

Sincerely,
Melina

Melina R. DiMattio
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5485 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
melina.dimattio@morganlewis.com | www.morganlewis.com
Assistant: Vanessa K. Peirce | +1.215.963.4661 | vanessa.peirce@morganlewis.com
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From: Whitney Street <WhitneySt@hbsslaw.com>
Sent: Tuesday, December 07, 2021 7:02 PM
To: Fee, R. Brendan <brendan.fee@morganlewis.com>; DiMattio, Melina R.
<melina.dimattio@morganlewis.com>; Reed, Steven A. <steven.reed@morganlewis.com>; Huyett,
D. Patrick <patrick.huyett@morganlewis.com>
Cc: Matt Weiner <matt@hilliardshadowenlaw.com>; Aaron Marks <amarks@cohenmilstein.com>;
srobertson@cohenmilstein.com; Greg Arnold <grega@hbsslaw.com>; Abbye Klamann Ognibene
<AbbyeO@hbsslaw.com>; Jenny O'Brien <JennyO@hbsslaw.com>
Subject: In re Actos Antitrust Litig. - Takeda's response to DPP's first set of interrogatories

[EXTERNAL EMAIL]
Counsel,
Please see the attached correspondence.
Thank you,
Whitney
Whitney Street | Of Counsel
Hagens Berman Sobol Shapiro LLP
55 Cambridge Parkway, Suite 301, Cambridge, MA 02142
Direct: (925) 204-9959
WhitneySt@hbsslaw.com | www.hbsslaw.com

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